Case 2:05-cv-02162-SHI\/|-dkv Document 3 Filed 06/23/05 Page 1 of 2 Page|D 14

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

AUSTIN B. JOHNSON and
BRANDON D. JOHNSON,

Plaintiffs,

v. Cv. NO. 05-2162-Ma

JO ANNE B. BARN'HART,
Cammissioner of Social Security,

Defendant.

J'UDGMENT

Decision by Court. This action came for Consideration
before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
in accordance with the Order of Dismissal, docketed June 20,
2005. Any appeal in this matter by Plaintiff, proceeding §§
forma pauperis, is not taken in good faith.

APPROVE:D=M//¢,,, 1

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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DATE

 

Th|s document entered on the docket sheet in compliance
with Hu|e 58 and/or 79(a) FHCP on " '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02162 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

Austin B. Johnson
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Brandon D. Johnson
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Honorable Samuel Mays
US DISTRICT COURT

